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 8   and the Putative Class
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 9

10                              UNITED STATES DISTRICT COURT

11                           NORTHERN DISTRICT OF CALIFORNIA
12                                      SAN FRANCISCO DIVISION
13

14    NOAH HERMANN, individually and on behalf        No.: 3:24-cv-7704-JD
      of all others similarly situated,
15                                                    CLASS ACTION
                           Plaintiff,
16                                                    [PROPOSED] ORDER GRANTING
                           v.                         PLAINTIFF’S MOTION TO ENLARGE
17
                                                      TIME FOR PLAINTIFF TO SERVE
18    BRIAN VELUZ-NEPOMUCENO,                         SUMMONS AND COMPLAINT
      PERCIVAL ONG, MIDNIGHT HUB, AND
19    ROOMS.TV,
                                                      Dept.: Courtroom 11, 19th Floor (San
20                         Defendants.                       Francisco)
                                                      Judge: Hon. James Donato
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     [No.: 3:24-cv-7704-JD] [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION TO ENLARGE TIME FOR
     PLAINTIFF TO SERVE SUMMONS AND COMPLAINT
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 1          Pursuant to Civil Local Rule 6-3 and Federal Rules of Civil Procedure 4(m) and 6(b)(1)(A),

 2   Plaintiff Noah Hermann moves for an enlargement of time to serve all Defendants and requests an

 3   extension of 60 days beyond the 90-day period set forth in Rule 4(m), until April 4, 2025, to

 4   complete service on these Defendants.

 5          Having considered Plaintiff Noah Hermann’s Motion to Enlarge Time for Plaintiff to Serve

 6   Defendants and the Declaration in support thereof, and good cause appearing, IT IS HEREBY

 7   ORDERED THAT Plaintiff’s motion is GRANTED. Plaintiff has demonstrated good cause for the

 8   requested enlargement under Fed. R. Civ. 4(m) and 6(b)(1). The deadline for service of process is

 9   extended to April 4, 2025.

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11          IT IS SO ORDERED.
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13   Dated: _____________________, 2025                 __________________________________
14                                                      HON. JAMES DONATO
                                                        UNITED STATES DISTRICT JUDGE
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     [No.: 3:24-cv-7704-JD] [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION TO ENLARGE TIME FOR
     PLAINTIFF TO SERVE SUMMONS AND COMPLAINT                                              1
